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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                             Chapter 11

TOUGH MUDDER INCORPORATED;                         Case No. 20-10036 (CSS)
TOUGH MUDDER EVENT PRODUCTION                      Case No. 20-10037 (CSS)
INCORPORATED

                       Debtors.



                                  NOTICE OF ACCEPTANCE


         I, Derek C. Abbott, Esq., hereby acknowledge my appointment and agree to serve as

chapter 11 trustee in the Tough Mudder Incorporated and Tough Mudder Event Production

Incorporated cases.




January 31, 2020                          /s/ Derek C. Abbott________________________
                                          Derek C. Abbott, Esq.
